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Y Missouri De partment of

| SOCIAL SERVICES

Your Potential. Our Support.
JEREMIAH W. (JAY) NIXON. GOVERNOR * Brian Kinkade, DIRECTOR
CHILDREN'S DIVISION”
GARRETT MOREE, 39TH CIRCUIT MANAGER

unr 528 e LTE

WUC SO SG ATES

OSS Mitta © EP PAGQ?NSALS8 © GP17-60 Rend
July 29, 2016

RE: Contracted Case Management Replacement Case

CHILD: Whitely, Hayden Dodge
BIRTHDATE: 07/28/2016
DCN: 65220477

TO WHOM IT MAY CONCERN:

The above name child is in the custody of the Missouri Department of Social Services,
Children’s Division, and is assigned to Springfield Partners for Case Management services

effective July 28, 2016.

Case Managers are responsible for providing case planning and services to foster children and
are authorized to enroll children in school, to seek routine medical care, give authorization for
treatment and obtain documents regarding the family and child, including medical records, birth
certificates and school records.

Renee Wilson, CDWIII Phone: 417-357-6118 ext 240

Contracted Case Management
Oversight Specialist

Tynee Johnson. CSSI Phone: 417-357-6118 ext 243

Contracted Case Management
Oversight Specialist Supervisor

lf you have any questions, please feel free to contact the liaison worker or supervisor.

This authorization does not extend to surgical procedures requiring Emergency Surgery or
General Anesthesia.

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page1of 28
“cco

Case Number:

VoSH - TOOK 2O

| Judge or Division: Qu
a) Ohe las

In the Interest of:

Hayden Dotgu White ley

Juvenile / Family Court Address:

FILED

AUG O1 2016
(J Male STONE CO. CIRCUIT CLERK
a DOB:_] | 2, fie
Female
Age: (Date File Stamp)

Order of Court Following Protective Custody Hearing (HRPT)

Now on this $ | i lite

(date) the following parties appear:

hone LH cathe ui} Li nite le

JKI Mother lazy Wheeler

4 WA Guardian Ad Litem Mark Ru uh de |

{_] Counsel for Mother

[_] Mother

{_] Counsel for Mother

[_] Father Ta Ch Atay (Ohi ley — (_] Counsel for Father

(_] Father

(_] Counsel for Father

[_] Father

(J Counsel for Father

[7 Children's Division Cryst Venneds 7 Council for Children’s Division _

ow Counsel for Juvenile Officer

SXuvenile Officer Ss annem Vo we

[_] Foster parent/s

(_] Counsel for Foster parent

Mother Wren Prenstyvo aa, Sp 1 agihé L{ (Other

(] Other

Reno “S (] Other

OSCA (7-00) JVO13 (JO13)

| of 2 MSCR 111.14(c)

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 2 of 28

Hearing called.

All parties appearing without counsel knowingly, voluntarily, and intelligently waived counsel and the Court approved said

waiver/s.

The Court takes judicial notice of the contents of its own file and considers the evidence presented at this hearing and finds:

wit is necessary for the juvenile to remain in protective custody.

() It is not necessary for the juvenile to remain in protective custody. (DVJUR)

Pursuant to the provisions of Title IV-E of the Social Security Act, the Court finds that:

([] The first contact with the juvenile’s family occurred during an emergency in which the juvenile could not safely
remain at home and continuation of the juvenile in the home was contrary to the welfare of the juvenile. Therefore,
it was reasonable to remove the juvenile due to the emergency circumstances.

[a Keasonable efforts were made to keep the juvenile in the home but continuation of the juvenile in the home is
contrary to the welfare of the juvenile.

(] Reasonable efforts to prevent removal from the juvenile’s home were NOT made, but reasonable efforts are now being

made to return the juvenile to the home. Further, continuation of the juvenile in the home is contrary to the welfare of the

juvenile.

(Huvenile may not remain in the home because it would be contrary to the juvenile’s welfare for the following reasons:
(J Neglect by _
[-] Physical abuse by
[J Sexual abuse by

(C] Unsanitary living conditions

(L] Continued need for psychological services for
Substance abuse by_[C, dt cok Mother

(] Parents have failed to rectify situation that originally brought the juvenile into care

(UW The following reasonable efforts to prevent removal are as follows:
([] Family Centered Services (] Intensive In Home Services (J Individual/Family Counseling
(C] Anger Management ((] Safety Plan ("] Relative Placement

(-] Other
AN services and efforts listed on page/s of Missouri Children's Division report dated

Case 6:17-cv-03211-MDH Documenti1-3_ Filed 07/1 APL Bebde 3 of 28

aun a1 7016

Accordingly, the Court enters the following order:

7 unti | further order of the Court, the juvenile is continued in protective custody and in the temporary legal and physical
custody of:
§4Children’s Division for suitable placement who shall have the duty and be authorized to provide for the necessary food,

clothing, shelter, medical are, education, treatment and discipline of the above captioned juvenile.

C] other

Wt he juvenile is continued in protective custody with Se AAC O until further order
of the Court.
2 Physical placement is hereby returned to/placed with SC (ACD until further

order of the Court.

[_] The written service agreement is approved and the parties are ordered to perform its terms.

([] The juvenile is ordered released forthwith to:

CJ mother [_] custodian:
(1) father (_] other suitable person:
(7) other;

Visitation p75 zo a re f ae
Ax Visitation is suspended emt 2 5 = =

() Visitation is provided

(Pf surisdictional Hearing (SCAJ)/Dispositional Hearing (SCDP) shall be held on the [Qt& day of SY pdembs
201 le vat IDS o'clock a.m./se

( Circuit Clerk is to issue summons for the parent(s)/custodian(s) and have same served upon him/her/them for the

court hearing set for (see above). FI L FE D

costs waivedAexted-epeainst .
AUG O1 2016

(_] Other:
STONE CO, CIRCUIT CLERK

[1 The following delay code (See attached) needs to be entered by Circuit Clerk:

&-l-ff2

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 4 of 28

DE .
W Mer cyt JUL 2 9 2016 Mercy Hospital

Mother Baby Unit 5A
STONE COUNTY 1235 E. Cherokee
Springfield, MO-.65804

Protected Health Information
417-R22-294R nhnne | 417-RIN-7AR4 fax

Fax Cover Sheet >
Ito: “Jonee Atsre Counc, Chiidrens Deiston
FAX NUMBER: [7-25 "7- Srefen | Pyoné Number:
Physician's (Reciplent) Name:
Person requesting information: Today's Date: 7T- 29-h 6
FROM:
Neeson faxing information: _f len er Le//- Der nets, LAP.
Wepat iptin uf possuny fealigs hifurniiallin
Phone Number: Fax Nuniber,
. PATIENT NAME: Yio. asin Date of Birth:
a Date ab Lassigo:. Total number of pages inclurling caver sheet

’ What information is being requested? (Check the appropriate boxes below)

bLcontinuty of Care OPayment UO Other (specify)

Information considered minimum necessery of Mercy:

O H&P 0 Consultation 1 Path Report

LJ Radiology Keport Bi Billrig OCR Repuil

O) Discharge Summary C Progress Notes 0 Clinic Notes

ab Report C] Operative Report O Medications
COMMENTS:

NOTICE OF CONFIDENTIALITY
5 MBs Ueurnretibs weuursprunagtiog Unto fouetsecle HURIMAISIIER SEmeeta GeRtdeRte! Minsmntinn hnlanging tn the cancer. which te levalhe
dp lee eeedlecll, pelelleged. The! fiwuétin te tedeoded malt few abe cine nf tha Indhidil nr antiht named above Ff you ara nnt the

infrioled racininnt, yau are hereby natified that any dig¢locura, copying, distribution or taking of any of the rnntents of this facsimile
leTerossselinees to wttlutly! prakibitad, yeu have veooiuad thic faocimila tranrmisrion tn error. please Immariiately nntify is hy fAlAnhANA

to arrange for return of the document to us.

This information has been disclosed to you from records whose confidentiality is protected by JS Federal Regulation (42CFR,
Part 2) that pronibits you from taking any further disclosure of It wilhuul Lhe specific wiiller wuusent of the person ts whort ie
pertains, or as otherwise permitted by such Regulations. A general authorization for the release of medical or other Information

is ww sufficrn fur ils purpuac,

THIS IS NOT A MEDICAL RECORD AUTHORIZATION. FILE - TO THE PATIENT'S RECORDS.

ee eee ge ergy sacs

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page5of 28
» JUI/29/2016 13:55:15 Mercy Mother/Baby 4178207884 4/4

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TOX. URINE om 8) Mee ne em wee mee ae ol la 3
AMPHETAMINE QUAL. ... Negative’ Pinianhee Fe Q. Magetive *
BARBITURATE QUAL, ... _ , Megetive®  Mecsetin * oo , Megpetive
RENPONNHBING OA | 0 antafiva” = Mama ratte
LANNADIVUIUD WUAL... pee trepererver | Phertungeetes Pu... q.
COCAINE AUAL MAINE Magli Wegetive = 5 Neceive”  -
METHADONE QUAL, URINE Fest Wot Inchided * Gh TestNotinckeded® Yo
METHAMPHETAMINE QU... | Anaseometiiee Pir. o Presumptive Pa.” fo oe.
OPIATE QUAL, URINE Negative” | Mangere © _ Metive ©
OXYCODONE QUAL, URINE | Wegetive®’ —  Newative 7 — «at
PCP QUAL, URINE oe acres ene Mima | Megat”
POAPARPIMPMU, | || CWL ld : iG ttf
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RECEIVED
JUL 2 9. 2016
STONE COUNTY

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 6 of 28

Printad on 7/29/2016 1:52:51 PM Paget
MERCY HOSPITAL SPRINGFIELD WHEELER,LACY ANN
1235 E. Cherokee St. MRN: E1401600776
Springfield MO 65804-2203 DOB: 4/10/1984, Sex: F
Adm: 7/28/2016, D/C: 7/30/2016

ae Lab Orders and Results (07/28/16 - 07/30/16) (continued)

DRUG SCREEN, URINE [302405773] (continued)

Electronically cosigned by Arauco, Carlos, MD 07/28/16 1649 for Ordering
Lab status: Final result Instance released by: Ulm, Heather, RN (auto-released)
7/28/2016 2:27 PM

Specimen Information
| Type | Source Collected By
Urine Urine, clean catch Snodgrass, Lori L., RN 07/28/16 1529

Final result, Resulted on: 07/28/16 1625 (Abnormal)
Ordering provider: Arauco, Carlos, MD 07/28/16 1427 Orderstatus: Completed
Resulting lab: MERCY LABORATORY SERVICES
- SPRINGFIELD

Narrative:

All urine drug testing is performed by Immunoassay for screening purposes. Unconfirmed results are for medical
purposes only. False positive and erroneous results can occur due to cross-reacting substances and other
factors. Confirmation of all presumptive positive results by a more specific alternate method requires an
additional order from the provider.

Drug: Screening Cutoff Threshold:

Amphetamine/Methamphetamine: 1000 ng/mL

Barbiturates: 200 ng/mL

Benzodiazepines: 200 ng/mL

Cannabinoids: 50 ng/mL

Cocaine Metabolites: 300 ng/mL

Opiates: 300 ng/mL

Phencyclidine: 25 ng/mL

Specimen Information

ID Type | Source | Collected By
16SP- Urine Urine, clean catch Snodgrass, Lori L., RN 07/28/16 1529
21001019

Components

Reference

eeu x ao Value Range Flag Lab Oe
AMPHETAMINE QUAL, URINE Negative Negative SPRG LAB
BARBITURATE QUAL, URINE Negative Negative SPRG LAB
BENZODIAZEPINE QUAL, URINE Negative Negative SPRG LAB
COCAINE QUAL URINE Negative Negative SPRG LAB
OPIATE QUAL, URINE Negative Negative SPRG LAB
CANNABINOIDS QUAL, URINE Presumptiv Negative A SPRG LAB

e Positive
PCP QUAL, URINE Negative Negative SPRG LAB
CREATININE, URINE 293.0 29.0-226.0 H SPRG LAB
mg/dL
Comment:

Reference Range varies with fluid intake and diet.

SPRG HEALTH INFORMATION WHEELER,LACY ANN
MANAGEMENT MRN: E1401600776
1235 E. Cherokee St.

Printed by 13761 at 10/21/16 4:02 PM

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 7 of 28
MERCY HOSPITAL SPRINGFIELD WHEELER,LACY ANN
1235 E. Cherokee St. MRN: E1401600776
Springfield MO 65804-2203 DOB: 4/10/1984, Sex: F
Adm: 7/28/2016, D/C: 7/30/2016

ae ____Non-Physician Notes (continued)

Care Plan by Hill Denney, Jenifer J., LCSW at 7/29/2016 11:43 AM (continued) Version 1 of 2

Social work consult received for this mother who had a positive UDS for meth 7/11/16 and 12/9/15, positive for
cannabinoids at delivery, and does not have custody of other children. | spoke with mom Lacy and her
friend/roommate and confirmed that someone from Children's Division saw her last night, for the Newborn
Crisis Assessment. She verbalized that the concern is related to positive drug tests but that it was a false
positive due to her medication. They verbalized having necessary baby items. She plans to move to Oklahoma.
Lacy denied need for any community resource information.

Phone calls to Christian county, Taney county, and Lawrence County Children's Divisions to try to speak with
Crystal Kennedy who was on call last night for the circuit and was assigned. | spoke with supervisor, Gabriel,
from Lawrence county and confirmed that the family address in Billings is in Stone County. He said the juvenile
office for Stone county plans to take custody of the baby. He said | will be faxed custody paperwork today. | will
request that Children's Division inform mother of baby when custody is taken.

Jenifer Hill-Denney, MSW LCSW
Mercy Mobile phone 417-838-7513

Electronically signed by Hill Denney, Jenifer J., LCSW at 7/29/2016 11:43 AM

Care Plan by Lo, Amelia K, MSW at 7/29/2016 6:45 PM Version 1 of 1
Author: Lo, Amelia K, MSW Service: (none) Author Type: Social Worker
Filed: 7/29/2016 6:49 PM Note Time: 7/29/2016 6:45 PM Status: Signed

Editor: Lo, Amelia K, MSW (Social Worker)

MSWS Note:

SW continuing to follow this patient/baby on 5A MOTHER BABY.

TC from Kary Brichacek at Springfield Partners: baby is okay to stay with biological mother to bond. Kary has
notified Wren Armstrong, FCCM, who will do an onsite assessment this evening. If Wren must remove baby
from the room, Mercy Safety and Security to stand by (Safety and Security notified).

| have provided an update to the pt/baby RN, Crystal.

SW to remain available to assist with disposition needs as appropriate.

Amelia Lo, LMSW

Social Worker

417-838-7680
Fax: 417-820-5484

Electronically signed by Lo, Amelia K, MSW at 7/29/2016 6:49 PM

Care Plan by Lo, Amelia K, MSW at 7/29/2016 7:33 PM Version 1 of 1
SPRG HEALTH INFORMATION WHEELER,LACY ANN
MANAGEMENT MRN: E1401600776

1235 E. Cherokee St.
Printed by 13761 at 10/21/16 4:02 PM

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 8 of 28
MERCY HOSPITAL SPRINGFIELD WHEELER,LACY ANN
1235 E. Cherokee St. MRN: E1401600776
Springfield MO 65804-2203 DOB: 4/10/1984, Sex: F
Adm: 7/28/2016, D/C: 7/30/2016

ey fe ~_ Non-Physician Notes (continued) _ eis
Care Plan by Harms, Kimberly S, LCSW at 7/30/2016 4:34 PM (continued) Version 1 of 4
Office: 417-820-7941

Cell: 417-844-6648

Electronically signed by Harms, Kimberly S, LCSW at 7/30/2016 4:34 PM

Care Plan by Nelson, Paula D., LCSW at 7/30/2016 6:59 PM Version 1 of 4
Author: Nelson, Paula D., LCSW Service: (none) Author Type: Social Worker
Filed: 7/30/2016 7:50 PM Note Time: 7/30/2016 6:59 PM Status: Signed

Editor: Nelson, Paula D., LCSW (Social Worker)

Received report from daytime on-call Social Worker, Nicole, at shift change of on going situation on 5A re:State
of Missouri, taking custody of baby, Hayden Dodge Whitely, as a result of a hotline.
Came to the floor and met with mother/baby's Nurse, Crystal, who provided update and needing clarity as to
discharge the baby or not to, Mo Children's Division Worker, Wren Armstrong.
Pt and family in room are arguing that the Mo Travel Letter provided, stated that,"Children's Division Alternative
Care Placement Begins 7-29-16 at 12:50pm" to "CD Alternative Care Placement ends 7-30-16 at 12:50pm’.
They did not feel that the State had the legal right to take custody after that time and date.

| discussed outside of room with Wren, Mo CD worker, and she has provided: Travel Letter, Request For
Intervention form, her picture ID and picture ID of Foster Parent's, also present. | have placed these forms in pt
and baby's chart.
Because of the questioning re: CD worker taking custody after July 30th,2016:7:30pm, Wren Armstrong,
downloaded a form from Missouri Department of Social Services, that does state that baby girl, Hayden Dodge
Whitely, is listed as custody of the state, and assigned to Springfield Partners (for case management services)
effective July 28th,2016. This form was provided to pt's Nurse, Crystal, & has also been placed in mother's and
baby's chart. | provided a copy to MOB, Lacy Wheeler. Nurse, Crystal, confirmed with baby's physician, that
she is medically clear for discharge, and taken into custody of the CD representative, Wren Armstrong.
Paula Nelson,_CSW
Mercy Care Management
417-820-2143
417-838-7544

Electronically signed by Nelson, Paula D., LCSW at 7/30/2016 7:50 PM

| ‘Nursing Notes.

Care Plan by Wright, Tiffany N, RN at 7/28/2016 9:51 PM Version 1 of 1

Author: Wright, Tiffany N, RN Service: (none) Author Type: Registered Nurse
Filed: 7/28/2016 9:51 PM Note Time: 7/28/2016 9:51 PM Status: Signed

Editor: Wright, Tiffany N, RN (Registered Nurse)

SPRG HEALTH INFORMATION WHEELER,LACY ANN
MANAGEMENT MRN: E1401600776
4235 E. Cherokee St.

Printed by 13761 at 10/21/16 4:02 PM

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 9 of 28
RECEIVED

AUG 08 2016 MERCY HOSPITAL SPRINGFIELD  WHITELEY,HAYDEN DODGE
1235 E. Cherokee St. MRN: E1404097224
“ST N Springfield MO 65804-2203 DOB: 7/28/2016, Sex: F
ONE COUNTY Adm: 7/28/2016, D/C: 7/30/2016
ones 5 History and Physical (continued) Hm
H&P by Burson, John M, MD at 7/29/2016 8:39 AM (continued) Version 1 of 1
* High risk social situation 07/29/2016
“s Limited prenatal care 07/29/2016

Overview Note:
Labs pending
Plan (see Newborn Admit Orders):
1. Anticipatory guidance to be provided.
2, Screening tests: .
State newborn metabolic screen to be done prior to discharge
Hearing Screening prior to discharge
3. Continue with routine newborn care per newborn protocols.
~ 4. DFS involved. Final dispo pending

4 Electronically signed by Burson, John M, MD at 7/29/2016 8:42 AM

Lee Consult Notes

Consults by Nelson, Paula D., LCSW at 7/30/2016 7:54 PM Version 1 of 1
_- Author: Nelson, Paula D., LCSW Service: (none) . Author Type: Social Worker

“Filed: 7/30/2016 7:54 PM Note Time: 7/30/2016 7:54 PM Status: Signed

Editor: Nelson, Paula D., LCSW (Social Worker}

et Nelson, Social Worker Signed Care Plan 7/30/2016

Paula D., 6:59 PM
~Losw

-Excand Al Colepse Ar
Received. report from daytime on-call Social Worker, Nicole, at shift change of on going
arent on 5A re:State of Missouri, taking custody of baby, Hayden Dodge Whitely, as

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. «Armstrong.
- Pt and family in room are arguing that the Mo Travel Letter provided, stated
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\lternative Care Placement ends 7-30-16 at 12:50pm". They did not feel that the State
had the legal right to take custody after that time and date.
| discussed outside of room with Wren, Mo CD worker, and she has provided: Travel

SPRG HEALTH INFORMATION WHITELEY,HAYDEN DODGE
MANAGEMENT MRN: E1404097224

Case 6:17-cv-03211-Mber — Beeeirert 1-3 Filed 07/17/17 Page 10 of 28

AUG 08 2016 MERCY HOSPITAL SPRINGFIELD WHITELEY HAYDEN DODGE

+ ef peep, ™, “4288 G, Cnernee St. . MRN: £ 1404097224

STONE COUNTY _ Springfield MO 65804-2203 . DOB: 7/28/2016, Sex: F
am: 7/28/2016, DIC: 713012016

Vee : -Physician
2016 11:33 AM continued

Care Plan by Hill Denn
_ Jenifer Hill-Denney, MSW
Mercy Mobile phone 417-838-7513

es Electronically signed by Hill Denney, Jenifer J., LCSW at 712912016 11:42 AM

Care Plan by Lo, Amelia K wsw at 7/29/2016 6:49 PM Version 1 of 4
>». Author: Lo, Amelia K, MSW Service. (none) Author Type: Social Worker
- ciled: 7/29/2016 6:49 PM Note Time: 7/29/2016 6:49 PM Status: Signed

pe ‘Editor, Lo, Amelia K, MSW (Social Worker)

COPIED FROM MOTHER'S CHART::
- MSWS. Note:

“SW continuing to follow this patient/baby on 5A MOTHER BABY.

-TC from Kary Brichacek at Springfield Partners: baby is okay to stay with biological mother to pond. Kary has
notified Wren Armstrong, FCCM, who will do an onsite assessment this evening. If Wren must remove baby
from the room, Mercy Safety and Security to stand by (Safety and Security notified).

‘have provided an update to the pt/baby RN, Crystal.

- SWto remain available to assist with disposition needs as appropriate.

Amelia LO, LMSW
Social Worker
447-838-7680
Fax. 417-820-5484

“5 etdotronically signed by Lo, Amelia K, MSW at 712912016 6:49 PM

SW at 712912016 7:50 PM
Author: Lo, Amelia K MSW Service: (none) Author TYP Social Worker
ij .. Filed: 7/29/2016 7:51 PM Note Time: 7129/2016 7:50 PM Status: Signed
- ~~ Editor. Lo, Amelia K, MSW (Social Worker)

Version 1 of 1

COPIED FROM MOTHER'S CHART::

_ Case 6:17-cv-0 H .
. -03211-MD Documen ' F _ r
cument 1-3 iled 07/1 7/1 7 Page 1tot VS the "DPOA ove '
MERCY HOSPITAL SPRINGFIELD WHEELER,LACY ANN
1235 E. Cherokee St. MRN: E1401600776
Springfield MO 65804-2203 DOB: 4/10/1984, Sex: F
Adm: 7/28/2016, D/C: 7/30/2016

ie ___ Nursing Notes (continued) _

Care Plan by Wright, Tiffany N, RN at 7/28/2016 9:51 PM (continued)
Problem: Labor (Obstetrics)

Goal: Prevent/Manage Potential Problems

Signs and symptoms of listed problems will be absent or manageable.
Outcome: Completed Date Met: 07/28/16

Version 1 of 1

Electronically signed by Wright, Tiffany N, RN at 7/28/2016 9:51 PM

Progress Notes by Wright, Tiffany N, RN at 7/28/2016 10:17 PM Version 1 of 1
Author: Wright, Tiffany N, RN Service: (none) Author Type: Registered Nurse
Filed: 7/28/2016 10:30 PM Note Time: 7/28/2016 10:17 PM Status: Signed

Editor: Wright, Tiffany N, RN (Registered Nurse)

HOTLINE NOTE
Call Indicated for: UDS positive, has no custody of other children, FOB in jail.

Drug Screen:

LabResults a a
Component Value 3 Date/Time
AMPHETAMINE Negative 07/28/2016 03:29 PM
QUAL, URINE
BARBITURATE Negative 07/28/2016 03:29 PM
QUAL, URINE
BENZODIAZEPI Negative 07/28/2016 03:29 PM
NE QUAL,
URINE
CANNABINOIDS Presumptive Positive* 07/28/2016 03:29 PM
QUAL, URINE
OPIATE QUAL, Negative 07/28/2016 03:29 PM
URINE
COCAINE QUAL Negative 07/28/2016 03:29 PM
URINE
PCP QUAL, Negative 07/28/2016 03:29 PM
URINE

Hotline call placed 7/28/2016

Report given to Shalina, ID# 43704

Mercy Care Management Social Services notified yes at (417) 820-3462 per policy.
Dr. Dawn Steiner informed of positive drug screen

Infant Meconium and Urine drug screen in progress.

SPRG HEALTH INFORMATION WHEELER,LACY ANN
MANAGEMENT MRN: E1401600776
1235 E. Cherokee St.

Printed by 13761 at 10/21/16 4:02 PM

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 12 of 28
MERCY HOSPITAL SPRINGFIELD WHEELER,LACY ANN
1235 E. Cherokee St. MRN: E1401600776
Springfield MO 65804-2203 DOB: 4/10/1984, Sex: F
Adm: 7/28/2016, D/C: 7/30/2016

a Non-Physician Notes (continued) |
Care Plan by Lo, Amelia K, MSW at 7/29/2016 7:33 PM (continued) Version 1 of 1

Author: Lo, Amelia K, MSW Service: (none) Author Type: Social Worker
Filed: 7/29/2016 7:50 PM Note Time: 7/29/2016 7:33 PM Status: Signed

Editor: Lo, Amelia K, MSW (Social Worker)

MSWS Note:

SW paged by RN, Debbie, noting that someone in the patient's room has stated that they are the "DPOA over"
this person is stating that "people from Social Services are not permitted" to speak to the pt without this
ancillary person present.

The pt does NOT have anyone listed on her PHI at this time per the Charge RN.

Unless the pt has been formally deemed "incompetent" or a notarized legal DPOA explicitly states the above,
staff and appropriate providers can contact the pt without this person being present.

This ancillary person is able to furnish this document if they feel so strongly.
Safety and Security may be available to stand by if this situation escalates.
SW to follow.

Amelia Lo, LMSW

Social Worker

417-838-7680
Fax: 417-820-5484

Electronically signed by Lo, Amelia K, MSW at 7/29/2016 7:50 PM

Care Plan by Harms, Kimberly S, LCSW at 7/30/2016 4:34 PM Version 1 of 1
Author: Harms, Kimberly S, LCSW _ = Service: (none) Author Type: Social Worker
Filed: 7/30/2016 4:34 PM Note Time: 7/30/2016 4:34 PM Status: Signed

Editor: Harms, Kimberly S, LCSW (Social Worker)

SWS NOTE:

Received call from nurse caring for MOB and baby today. She indicates MOB upset stating she does not know
what is going on. | called the Springfield Partners/Alternative care worker Wren who told me to call the on call
worker at 827-8203 which | did. She will call the MOB and review with her the plan. Once that is done she is
to call me back and let me know we can proceed with notifying the foster mother and arrange to discharge the
baby.

Addendum: Springfield Partners/Alternative Care worker did come and talk with MOB today. Nursing told me
MOB and baby will not discharge until tomorrow.
Kim Harms, MSW, LCSW

SPRG HEALTH INFORMATION WHEELER,LACY ANN
MANAGEMENT MRN: E1401600776
1235 E. Cherokee St.

Printed by 13761 at 10/21/16 4:02 PM

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 13 of 28
MERCY HOSPITAL SPRINGFIELD WHEELER,LACY ANN
1235 E. Cherokee St. MRN: E1401600776
Springfield MO 65804-2203 DOB: 4/10/1984, Sex: F
Adm: 7/28/2016, D/C: 7/30/2016

Pires se ‘Non-Physician Notes (continued) pee |

Care Plan by Hill Darra: Jenifer J., LCSW at 7/29/2016 11:43 AM (continued) Version 2 of 2
cannabinoids at delivery, and does not have custody of other children. | spoke with mom Lacy and her
friend/roommate and confirmed that someone from Children's Division saw her last night, for the Newborn
Crisis Assessment. She verbalized that the concern is related to positive drug tests but that it was a false
positive due to her medication. They verbalized having necessary baby items. She plans to move to Oklahoma.
Lacy denied need for any community resource information.

Phone calls to Christian county, Taney county, and Lawrence County Children's Divisions to try to speak with
Crystal Kennedy who was on call last night for the circuit and was assigned. | spoke with supervisor, Gabriel,
from Lawrence county and confirmed that the family address in Billings is in Stone County. He said the juvenile
office for Stone county plans to take custody of the baby. He said | will be faxed custody paperwork today. | will
request that Children’s Division inform mother of baby when custody is taken.

1700 Addendum: Per Stone County Children's Division supervisor, Tynee Johnson, the Stone County
Juvenile Officer, Shannon Doyle, took custody of the baby and notified mother of baby by phone (without
informing hospital staff first). Mom Lacy verbalized not understanding why they were taking custody and
claimed to not have been told about the positive drug test. A woman who said she was Lacy's sister, the
woman who Lacy has been staying with, and another female visitor verbalized being upset about the situation.

Apparently, a Greene County investigator came to the hospital today and talked with Lacy but also never
notified hospital staff. The Greene County worker was involved due to a request from Stone county prior the
on-call worker for the Stone county circuit came to see Lacy around 2 AM. The Greene County worker
apparently provided no information regarding taking custody so they were not expecting that when the Juvenile
Officer called. Tynee Johnson said she would inform Shannon Doyle that is not the appropriate way to inform a
mother. | later informed Shannon that the hospital staff is also not responsible for that role. The foster care
case manager, Wren Armstrong, has now been requested to come to the hospital to speak with Lacy and
family. | informed the security desk about the situation and would recommend that security stand by when
Wren talks to them. Foster care arrangements have been made and info added to the sticky note for expected
discharge of baby tomorrow. Evening social worker to put documentation (Authorization for Alternative Care,
travel letter, and Medicaid letter) on baby's paper lite chart.

Jenifer Hill-Denney, MSW LCSW
Mercy Mobile phone 417-838-7513

Electronically signed by Hill Denney, Jenifer J., LCSW at 7/29/2016 11:43 AM
Electronically signed by Hill Denney, Jenifer J., LCSW at 7/29/2016 5:16 PM

Care Plan by Hill Denney, Jenifer J., LCSW at 7/29/2016 11:43 AM Version 1 of 2
Author: Hill Denney, Jenifer J., Service: (none) Author Type: Social Worker
LCSW
Filed: 7/29/2016 11:43 AM Note Time: 7/29/2016 11:43 AM Status: Signed

Editor: Hill Denney, Jenifer J., LCSW (Social Worker)
Related Notes: Addendum by Hill Denney, Jenifer J., LCSW (Social Worker) filed at 7/29/2016 5:16 PM

General Plan of Care (Adult, Obstetrics)

Identify Discharge Needs Progressing
SPRG HEALTH INFORMATION WHEELER,LACY ANN
MANAGEMENT MRN: E1401600776

1235 E. Cherokee St.
Printed by 13761 at 10/21/16 4:02 PM

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 14 of 28
CHILDREN’S DIVISION

MISSOURI DEPARTMENT OF SOCIAL SERVICES

FAMILY SUPPORT TEAM MEETING

Fadia: whide! y |

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CONFIDENTIALITY STATEMENT: We the undersigned are participants in the FSTM for the

ca: LIU Li

family. We understand we have the family’s permission to share information here today that will help the family meet their goals. We
also understand and agree to keep this information confidential pursuant to the confidentiality laws and policies of the State of

Missouri. This form should be signed by all participants at the beginning of the meeting. At the conclusion of the meeting, participants

should indicate whether or not they agree with the plan by checking yes or no in the appropriate box.

Participant Invited Relationship to Family | *Agree with Plan? | 4 Sate salar Ulcione i
Tes Tn Costa | Fos | Gives OM | VWrra Dae
A Ag Destanes ELMS ~ PM (ives Ono | A Bui Non
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tae Lt bape) ()- eos _| Saves OW | Gpinen Chen
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ude tal [OVW an | Yer CNo”
Rirctinc Serk [ae Sseer* [eres One | Ap \ alters afb
C1 Yes [J No
CL] Yes [()No
[]Yes [J] No
[]Yes LI No
[]Yes [No
[]Yes [] No a
C]lYes [No -

“If indicated do not agree with the case plan, specifically state the nature of disagreement:

Participant's Name

Nature of Disagreement

Date/Time of Next Meeti
G2 ex JOA! (620

Qist @2%3O

Location of Next Meeting

Siaez “Lo

Family Name:

Date:

G on! Roun ction

Case 6:17-cv-03211-MDH

Document 1-3

Filed 07/17/17

FST 3 (REV12/15)

Page 15 of 28
Resource Provider Update:

AD.4a U0 \$ Oy mina,

Progress/Services/Treatment Needs Necessa

Mom showed

to Achieve Permanency:

wp @ 2215 - weet

Refuses to Oye to treatment

Written Service Agreement:

Rikvace yy sgh

[_] Review of Court Orders:
VISITATION RECOMMENDATIONS:

Noy Seholulsd @ |:30

Who Will Visit rere i Ws Frequency/Duration/Location
) Parent #1 ClYes [JNo judge, orclered (hort
[1 Parent #2 L]} Yes [No ~ eFiment. po T AlalitBhed
CD Sibling [}¥es []No
[] Other: []Yes [)No
PERMANENCY PLAN:

‘XM Reunification CJAdoption
(J Another Planned Permanent Living Arrangement

CONCURRENT PLAN:

x) Adoption [J Guardianship
(J Another Planned Permanent Living Arrangement

RECOMMENDATIONS:

wn The child will remain in alternative care with the following provider:
(] The child will return home on a Trial Home Visit with [_] Mother / [7] Father / [[] Other

Case 6:17-cv-03211-MDH

[_] Guardianship [[] Placement with Fit and Willing Relative

[_] Placement with Fit and Willing Relative

Cher. Nov-bn”

FST 3 (REV12/15)

Document 1-3. Filed 07/17/17 Page 16 of 28
TYPE OF MEETING:

[J 24 Hour [30 Day [60 Day (-] 90 Day (_] 6 Month/PPRT [_] Review Progress
[-] Placement Change [] Goal Change [-] Revise Service Agreement [_] At the parent's request
CI Other:

PURPOSE OF MEETING GROUND RULES

Assessing safety of the child Be respectful of each other

Determine if the child can be reunited One person speaks at a time

Discuss case goal and need for permanency Focus on the purpose

Determine service and treatment needs Everyone has a chance fo speak and be heard
Review placement options and appropriateness It is ok to disagree

Develop/Review/Revise case plan Speak to each other, not about each other

Evaluate case progress Encourage honesty without blaming or shaming
Review of services needed/in place No idea is a bad idea

Develop/Review visitation plan Ideas should not be judged

[_] Adoption and Safe Families Act discussed.
[-] Indian Child Welfare Act

e Does the child have Indian Ancestry? [Yes [] No
Reason for Removal/identified Threats of Danger:

SUMMARY OF PROGRESS

Child Education: | . Z
W horn - WwW Cu) hATOMIN2ZS In suse m lees
h per bole - jiHel-y - hyperbaric Aven trnene ~ pacliakr chess
Child Health/Mental Health/Child Vulnerability: nor SS Y ~ Up *y i} LL.
crear —

Ast Steps
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Parents’ Health/Mental Health/Caregiver Protective Capacity:

Mom didn't answer phone ~

Special Needs of the Family (if applicable):

Diligent Search (absent parent, relatives, kin):
Dat -~Grene & Tull warts) Dy op +o DOC, .
pabernad curt wn cle -previowsly Veonced? [n|9&-doB
a Kia ship - 20{\~- FST 3 (REV12/15)
DVN 8 eta

Case 6:17-cv-03211-MDH Document1-3 Filed Q¥Gg/47\ 4 Rage|17 of 28

ST a

. leo
. Resource Provider Update: AO a WW ext W Oats

] 5
Progress/Services/Treatment Needs Necessary to Achieve Permanency:
Porch

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Compliance with Written Service Agreement:
\ G

LC) Review of Court Order to Assure Compliance:
VISITATION RECOMMENDATIONS:

Who Will Visit ee 7 an Frequency/Duration/Location
_] Parent #1 C1 Yes []No
_] Parent #2 Cl Yes [No |
_ Sibling [J Yes []No
JOther; [] Yes [[] No
ERMANENCY PLAN:

] Reunification [JAdoption [J Guardianship [[] Placement with Fit and Willing Relative
] Another Planned Permanent Living Arrangement

JINCURRENT PLAN:

| Adoption [_] Guardianship [-] Placement with Fit and Willing Relative
“Another Planned Permanent Living Arrangement

:COMMENDATIONS:
me NVALTIONS:

The child will remain in alternative care with the following provider:

The child will return home on a Trial Home Visit with [_] Mother / [7] Father / [_] Other

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Case 6:17-cv-03211-MDH BDocumen 1-3 Filed 07/17/17 Page 18 of 2

FST 3 (REV 8/16)

RESIDENTIAL REAUTHORIZATION ATTACHMENT

REASON FOR RESIDENTIAL PLACEMENT (List specific behaviors that lead to residential placement):

LIST SPECIFIC SERVICES IN PLACE:

SERVICE FREQUENCY (weekly, bi-weekly, monthly)
[_] Individual Therapy

[_] Family Therapy
[_] Group Therapy — List specific group participation:

-{-JArt Therapy
[_] Substance Abuse Treatment
[|] Sexual Offender Services
[_] Other

The FST should be choosing the services/therapies the child is involved in to ensure they are directly relating to the
problem/reason for referral.

Are the services in place still necessary to address the problem/reason for referral? []Yes [_]No

%
RFA Payment Level

[| Level li []Levelil! []LevellV [_] Level IV+

Is the child receiving the correct amount of services for the payment level? [_]Yes [_]No
Level II — services one time per week
Level Ill - services six times per month
Level IV — services twice per week

CSPI score:
Rehab Begin Date in FACES:

FST 3 (REV12/15)

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 19 of 28

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MISSOURI DEPARTMENT OF SOCIAL SERVICES \ ad a9
CHILDREN’S DIVISION N
SERVICE DELIVERY GRIEVANCE

| NAME HOME TELEPHONE NUMBER WORK TELEPHONE NUMBER
| Ps : . - Ah
lhe Ly LOwo0o Our se gr eB lll
HOME ADDRES LAL \ $$ CHI NI S SERVICE SUPERVISOR
OUNTY ae
Lees no oyQo_~ era WPS
TYPE OF SERVICES RECEIVING (CHECK ALL THAT APPLY) AT cn
(_] Family-Centered Services (-] Family Reunion Services Child Abuse/Neglect
[_] Family-Centered Out-of-Home Care [_] Adoption Services and Guardianship Services Investigations and Family
[] Intensive In-Home Services [_] Independent Living Services Assessments

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GRIEVANCE ISSUE
BRIEFLY DESCRIBE THE SITUATION WHICH CAUSED YOU TO FILE THIS GRIEVANCE. INCLUDE DATE, WHERE IT HAPPENED, AND NAMES

OF THOSE INVOLVED. USE | ADDITIONAL SHEETS IF NECE: , 8
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DESIRED OUTCOME
a nat YOU aa OT Ae TO HAVE HAPPEN WITH REGARD T9 ABOVE GRIEVANCE. ce ADDITIONAL ON IF NECESSARY,

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ATTEMPTS TO RESOLVE ISSUE
DESCRIBE ALL ACTIONS THAT HAVE BEEN TAKEN TO RESOLVE THE ISSUE. INCLUDE DISCUSSIONS WITH WORKER,
THEIR SUPERVISOR, AND MEMBERS OF THE FAMILY SUPPORT TEAM. USE ADDITIONAL SHEETS IF NECESSARY.

GRIEVANT SIGNATURE ae a
_moase et 02211- MDH Cument 1-3 Filed 07/17 Lt) Babe® of
py hsels kr N1O)N MO) cM | etsy ain deve) Se edna ACHAT =A ZN hed tad oded =tak

MISSOURI DEPARTMENT OF SOCIAL SERVICES 9
CHILDREN’S DIVISION :
/ SERVICE DELIVERY GRIEVANCE

Toye Niles 2 MIN kn ODN ROM =O SOE els eA Ne)

NAME

CACM Ldowcd ACK \-:

HOME TELEPHONE NUMBER WORK TELEPHONE NUMBER

Teton glo) WW ROM == ex) cy = 122 ACA eo A
GRIEVANCE ISSUE

ome ADDRESS\, ’ Bu DREN'S SERUIC \\ sRiER eo SERVICE SUPERVISOR
eed. hoe we 2 Onan oO eS i E

ae S —

Ske: NG Ke? - 1p 1 as
TYPE OF SERVICES SRECEIVING (CHECK ALL THAT APPLY)

[_] Family-Centered Services (_] Family Reunion Services hild Abuse/Neglect
CT Family-Centered Out-of-Home Care Adoption Services and Guardianship Services Investigations and Family
(_] intensive In-Home Services [_] Independent Living Services Assessments

Shit INVOLVED,..USE AQBITIONAL BRE TS IF NEC! Ek

Nirw In Coal gg onl o Ck GOD

BRIEFLY DESGRIBE THE SITUATION WHICH CAUSED YOU TO FILE THIS GRIEVANCE. INCLUDE DATE, WHERE IT HAPPENED, AND NAMES

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STATE WHAT YOU WOULD LIKE TO HAVE-HAPPEN WITH REGARD TO ABOVE GRIEVANCE. USE ADDITIONAL SHEETS IF NECESSARY.
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KL VOOLO Myo QAgNS ACS. O. ANS a. “dO \\y PDIVe

ATTEMPTS TO RESOLVE ISSUE

DESCRIBE ALL ACTIONS THAT HAVE BEEN TAKEN TO RESOLVE THE ISSUE. INCLUDE DISCUSSIONS WITH WORKER,
THEIR SUPERVISOR, AND MEMBERS OF THE FAMILY SUPPORT TEAM. USE ADDITIONAL SHEETS IF NECESSARY.

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S244-MD Document 1-3" Filed 07/17/17 ~=Page 21 of 28
_ RECEIVED

AUG 08 2016
otek ue MERCY HOSPITAL SPRINGFIELD . WHITELEY HAYDEN DODGE
: UNTY 1235 E. Cherokee St. ’. MRN: E1404097224
STONE CO Springfield MO 65804-2203 DOB: 7/28/2016, Sex: F
Adm: 7/28/2016, D/C: 7/30/2016

poli See ee Problem List (continued) =|
All Problems (continued) Date Reviewed: 7/29/2016

Last

Noted - Resolved Modified

Haye ES Fes Entered by Burson, John M, MD
: a Overview Signed 7/29/2016 8:37 AM by Burson, John M, MD~ :

Meth positive on July 11, 2016

MJ Pos on admission

DFS involved.

: High risk social situation - 7/29/2016 - Present 7/29/2016 by
Burson, John
M,MD ~
 puleennsentoencevuer ee irs _.._..... Entered by Burson, John M, MD ___
-Limited prenatal care Some 7/29/2016 - Present 7/29/2016 by |
Burson, John
M, MD
Entered by Burson, John M, MD

- Overview Signed 7/29/2016 8:38 AM by Burson, John M, MD
Labs pending

-‘Medical *None**
». -as of 7/30/2046

Surgical . = > “None
2s s Of 7/30/2016

Family **None**
~ as of 7/30/2016

= Family Status **None**
 . las of 7/30/2016

Tobacco Use Smoking Status Source Types Packs/day Years Comments Smoking Smoking Smokeles Smokeles

Used Start Date Quit Date s Tobacco s Tobacco
, Status __ Quit Date

as of Never Assessed 0.0 0.0 Unknown

7/30/2016
"hy Alcohol Use Alcohol Use | Source Drinks/Week __*__: AlcoholWk Comments
"= as of 7/30/2016 _| | oe | |
e Drug Use -Drug Use Source Types Frequency Comments
"as of 7/30/2016 _| | J 0.00 | J

Case 6-17-CV-0321T- MDA Documem 1-3 Filed 07/17/17 Page 22 of 28
RECEIVED

~ AUG 08 2016 MERCY HOSPITAL SPRINGFIELD — WHITELEY,HAYDEN DODGE
1235 E. Cherokee St. MRN: E1404097224
y Springfield MO 65804-2203 DOB: 7/28/2016, Sex: F
“STONE COUNTY Adm: 7/28/2016, D/C: 7/30/2016
. i Nursing Notes (continued) "]
‘Progress Notes by Collins V, Crystal, RN at 7/30/2016 _8:06 PM (continued) Version 1 of 1

” , ‘notified that the infant would be staying in the room until discharge.

At 1700 on 7/30/2016 Wren Armstrong arrived on the floor along with the foster parents for Hayden (infant)
and stated that she was here to collect the infant. RN stated that she did not have a discharge order and Ms.

_ Armstrong became upset and demanded that Dr. Andrews be called and a discharge order be requested since a

~~ the infant was medically sound, even though the mother was not yet being discharged. RN contacted Dr.

_ Andrews who wrote a discharge order pending clearance from Mercy Social Services. RN placed a stat page

by “., to. Mercy Social Services and Nicole stated that it was shift change, but-she would have the oncoming social
“worker contact the floor. RN offered to allow the foster parents and:Ms. Armstrong to sit in the closest waiting
“room by labor and delivery to increase their comfort, but they initially refused, however, they left the floor and

‘went to the waiting area approximately 10 minutes later.

- Nicole with Mercy Social Work called RN back and stated that she was working on contacting Shelia Dullumto .

aid in this matter. Sheila Dullum called and spoke with this RN and clarified situation and then asked to speak

with Ms. Armstrong. This RN went to waiting room and asked Ms. Armstrong to accompany her back to floor
to speak with Sheila. When Sheila finished speaking with Ms. Armstrong she spoke with the RN again and

stated that we needed to obtain photo ID's from Ms. Armstrong and the foster parents. RN obtained ID from

: Ms. Armstrong. Ms. Armstrong then requested to speak with Ms. Wheeler, while RN was obtaining the photo’
_- “ID's of the foster parents from the waiting room. RN asked that Ms. Armstrong wait to speak with Mrs. Wheeler
~. until she would be available for support to Mrs. Wheeler. Ms. Armstrong agreed.

After RN returned to unit, Ms: Armstrong was permitted to.speak with Ms. Wheeler. Ms. Wheeler was very
upset and requested to be discharged. Paula Nelson with Mercy Social Work arrived on floor and was briefed

- 6n the situation by this RN. At 1755 Mrs. Armstrong exited Ms. Wheeler's room and stated that she was giving
_them 15 minutes to say goodbye. At 1810 Ms. Armstrong removed the infant from the room. At this time the
. family of Ms. Wheeler expressed concern that taking the infant was not legal and Paula Nelson, contacted risk

= _ “management. After being cleared by risk management. The footprint sheet was validated against the infant .
- \'tags and signed by two RN's. Bracelet's were. cut off the infant and given to MOB along with a copy of the
» footprints and the crib card.

a Electronically signed by Collins V. Crystal, RN at 7/30/2016 8:06 PM

Progress Notes by Collins V, Crystal, RN at 7/30/2016 8:06 PM Version 1 of 1
. . Author: Collins V, Crystal, RN Service: (none) Author Type: Registered Nurse
. | -Filed: 7/30/2016 8:08PM . . Note Time: 7/30/2016 8:06 PM Status: Signed

Da ns Editor: Collins V, Crystal, RN (Registered Nurse) . :

. Patient discharged to care of Wren Armstrong with Springfield Partners Alternative Care via carried in an infant -

seat. No change in condition. Discharge information and education provided to Ms. Armstrong and foster

- parents. Questions answered, understanding of discharge instruction verbalized. Printed copy given.

. ~.Eléctronically signed by Collins V, Crystal, RN at 7/30/2016. 8:08 PM__

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SPRG HEALTH INFORMATION WHITELEY,HAYDEN DODGE
MANAGEMENT MRN: E1404097224

1235 E. Cherokee St.

Printed by 62585 at 8/4/16 10:07 AM
Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 23 of 28
~* RECEIVED . .
- . MERCY HOSPITAL SPRINGFIELD WHITELEY,HAYDEN DODGE

- AUG 08 2016 1235 E. Cherokee St. MRN: E1404097224
ae Springfield MO 65804-2203 DOB: 7/28/2016, Sex: F
+_ STONE COUNTY Adm: 7/28/2016, D/C: 7/30/2016

eee Non-Physician Notes (continued)
Care Plan by Hill Denney, Jenifer J., LCSW at 7/29/2016 11:33 AM (continued) Version 2 of 2

-informing hospital staff first). Mom Lacy verbalized not understanding why they were taking custody and

.:, claimed to not have been told about the positive drug test..A woman who said she was Lacy’s sister, the
aN a -woman who Lacy has been staying with; and another female visitor verbalized being upset about the situation.

Apparently, a Greene County investigator came to the hospital today and talked with Lacy but also never
notified hospital staff. The Greene County worker was involved due to a request from Stone county prior the

on-call worker for the Stone county circuit came to see Lacy around 2 AM. The Greene County worker
_ | apparently provided no. information regarding taking custody so they were not expecting that when the Juvenile
_- Officer called. Tynee Johnson said she would inform Shannon Doyle that is not the appropriate way to inform a

‘mother. | later informed Shannon that the hospital staff is also not responsible for that role. The foster care

"+ Case manager, Wren Armstrong, has now been requested to come to the hospital to speak with Lacy and

family. | informed the security desk about the situation and would recommend that security stand by when

~ Wren talks to them. Foster care arrangements have been made and info added to the sticky note for expected

_. discharge of baby tomorrow. Evening social worker to put documentation (Authorization for Alternative Care,

travel letter, and Medicaid letter) on baby's paper lite chart.

Jenifer Hill-Denney, MSW LCSW

Mercy Mobile phone 417-838-7513

~ Electronically signed by Hill Denney, Jenifer J., LCSW at 7/29/2016 11:42 AM

. wal Electronically signed by Hill Denney, Jenifer J., LCSW at 7/29/2016 5:16 PM

Pa Care Plan by Hill Denney, Jenifer J., LCSW at 7/29/2016 11:33 AM Version 1of2 ~
- ~~ Author: Hill Denney, Jenifer J., Service: (none) Author Type: Social Worker
- LCSW
Filed: 7/29/2016 11:42 AM Note Time: 7/29/2016 11:33 AM Status: Signed

» Editor: Hill Denney, Jenifer J., LCSW (Social Worker)
Related Notes: Addendum by Hill Denney, Jenifer J., LCSW (Social Worker) filed at 7/29/2016 5:16 PM

ees General Plan of Care (Newborn, NICU)

i “. *ldentify Discharge Needs : Progressing

# Social work consult received for this mother who had a positive UDS for meth 7/11/16 and 12/9/1 5, positive for -

cannabinoids at delivery, and does not have custody of other children. | spoke with mom Lacy and her
friend/roommate and confirmed that someone from Children's Division saw her last night, for the Newborn
Crisis Assessment. She verbalized that the concern is related to positive drug tests but that it was a false
positive due to her medication. They verbalized having necessary baby items. She plans to move to Oklahoma.

- Lacy denied need for any community resource information.

Phone calls to Christian county, Taney county, and Lawrence County Children's Divisions to try to speak with

_ Crystal Kennedy who was on call last night for the circuit and was assigned. I"spoke with supervisor, Gabriel,

from Lawrence county and confirmed that the family address in Billings is in Stone County. He said the juvenile
Office for Stone county plans to'take custody of the baby. He said | will be faxed custody paperwork today. | will

_ fequest that Children's Division inform mother of baby when custody is taken.

SPRG HEALTH INFORMATION WHITELEY, HAYDEN DODGE
: i - MANAGEMENT . + E£140409722
Case 6:17-cv-03211-MBH ~ Bocument 1-3 Filed o7/RY1 5°82 4. of 28
RECEIVED

§ 2016 MERCY HOSPITAL SPRINGFIELD | WHITELEYHAYDEN DODGE
AUG 0 , 1235 E. Cherokee St. MRN: E1404097224
Springfield MO 65804-2203 DOB: 7/28/2016, Sex: F
- STONE COUNTY Adm: 7/28/2016, D/C: 7/30/2016
ce Nursing Notes (continued)

Care Plan by Collins V, Crystal: RN at 7/30/2016 4:24 PM (continued) Version 1 of 4
hours with appropriate latch and according to feeding cues. If ns
formula feeding: Newborn receives a minimum of 0.5-1 oz of
formula per feed on demand with intervals between feedings not
exceeding 4 hours the first few days of life. Eeeaings are tolerated

without difficulty.

Newborn Metabolic: Newborn displays no evidence of jvcnalied or

‘appropriate treatment or discharge follow up plan is identified if Met
jaundice present.

*Pain Management: NIPS score calculated less than 2. Met

“General Plan of Care (Newborn, NICU)

_ “tIndividualization/Patient-Specific Goal (Newborn, NICU) Progressing
-*Plan of Care Review (Pediatric, Newborn, NICU) : Progressing
identify Discharge Needs Progressing

“ Newborn (NICU,Pediatric)
_. .*Prevent/Manage Potential Problems Progressing

Electronically signed by Collins V, Crystal, RN at 7/30/2016 4:24 PM

\->. Progress Notes by Collins V, Crystal, RN at 7/30/2016 8:06 PM _ Version 1 of 1

: Author: Collins V, Crystal, RN Service: (none) Author Type: Registered Nurse
*".. Filed: 7/30/2016 8:06 PM Note Time: 7/30/2016 8:06 PM Status: Signed

- Editor: Collins V, Crystal, RN (Registered Nurse)

. Wren Armstrong with Springfield Partners Alternative care called on 7/29 stated that she would come speak to
the family between 1800 and 1900 on 7/29/2016 about the state taking custody. Per patient request, this RN
_attempted to call Ms. Armstrong to confirm appointment at 1830, but only reached a voicemail box, where a

- . Message was left requesting that she confirm appointment or reschedule. Ms. Armstrong did not visit with the
patient on 7/30/2016.

“RN was contacted by Jessie Davis, Springfield Partners Alternative Care representative at approximately 1200. . .:

Stated that she was following up concerning the Wheeler Baby, and that she wanted to speak with the mother
by phone regarding the state taking custody of the infant. RN stated that relaying this information over the
phone was inappropriate. Jessie stated that she would come up to the hospital around 1300 to speak with the
patient directly.

- Jessie Davis arrived on the floor at approximately 1300.and spoke with Ms. Wheeler and informed her that the
~ state would be taking custody. Ms. Wheeler was upset, but understanding in the end. Jessie Davis came out

_ and informed this RN that she was fine with the infant staying in the room until discharge, which was scheduled
. to.be on 7/31/2016 at the same time the mother was discharged. Kim Harms with Mercy Social Services was

SPRG HEALTH INFORMATION WHITELEY,HAYDEN DODGE
MANAGEMENT MRN: E1404097224
1235 E. Cherokee St.

Printed by 62585 at 8/4/16 10:07 AM

Case 6:17-cv-03211-MDH Document 1-3 Filed 07/17/17 Page 25 of 28
AUG 08 2016 1235 E. Cherokee St. ~ MRN: E£1404097224
Springfield MO 65804-2203 DOB: 7/28/2016, Sex: F
Adm: 7/28/2016, D/C: 7/30/2016

a + pete Non-Physician Notes (continued)

. Care Plan by Harms, Kimberly S$, LCSW at 7/30/2016 11:55 AM (continued) Version 4 of 4
Cell: 417-844-6648

“<< Electronically signed by Harms, Kimberly S, LCSW at 7/30/2016 11:58 AM
Electronically signed by Harms, Kimberly S, LCSW at 7/30/2016 4:33 PM
~ * Electronically signed by Harms, Kimberly S, LCSW at 7/31/2016 8:01 AM

-. Electronically signed by Harms, Kimberly S, LCSW at 7/31/2016 8:20 AM

Care Plan by Harms, Kimberly S$, LCSW at 7/30/2016 11:55 AM Version 30f4
. «Author: Harms, Kimberly S, LCSW Service: (none) Author Type: Social Worker
~ Filed: 7/31/2016 8:01 AM” Note Time: 7/30/2016 11:55 AM Status: Addendum

__.., Editor: Harms, Kimberly S, LCSW (Social Worker)
ea Related Notes: Addendum by Harms, Kimberly S, LCSW (Social Worker) filed at 7/31/2016 8:20 AM
OU Original Note by Harms, Kimberly S; LCSW (Social Worker) filed at 7/30/2016 4:33 PM

~ MSWS NOTE:
' Received call from nurse caring for MOB and baby today. She indicates MOB upset stating she does not know
_ what is going on. | called the Springfield Partners/Alternative care worker Wren who told me to call the on call
- - ‘worker at 827-8203 which | did. She will call the MOB and review with her the plan. Once that is done she is
to call me back and let me know we can proceed with notifying the foster mother and arrange to discharge the

“baby. .

“Addendum: Springfield Partners/Alternative Care worker did come and talk with MOB today. Nursing told me
MOB and baby will not discharge until tomorrow.

“Addendum: Noted documentation and issues that occurred after | had left for the day yesterday. | am
somewhat uncertain as to where the Springfield Partners got the idea that baby was to discharge yesterday. It oe

- was ty understanding that they would not come to get the baby until they had contacted SW or nursing to
clarify when baby and mother were to discharge. At no time did | tell them that baby was ready for discharge

.,. yesterday. a
- “=2.Kim Harms, MSW, LCSW
“Office: 417-820-7941

| Geli: 417-844-6648

Electronically signed by Harms, Kimberly S, LCSW at 7/30/2016 11:58 AM
"+ Electronically signed by Harms, Kimberly S, LCSW at 7/30/2016 4:33 PM
_ Electronically signed by Harms, Kimberly S, LCSW at 7/31/2016 8:01 AM

- Care Plan by Harms, Kimberly S, LCSW at 7/30/2016 11:55 AM Version 2 of 4

vhs Author: Harms, Kimberly S, LCSW Service: (none) Author Type: Social Worker
*" Filed: 7/30/2016 4:33 PM Note Time: 7/30/2016 11:55 AM Status: Addendum

“. Buiter: Harms, Kimberly S, LCSW (Social Worker)
Related Notes: Addendum by Harms, Kimberly S, LCSW (Social Worker) filed at 7/31/2016 8:01 AM
Original Note by Harms, Kimberly S, LCSW (Social Worker) filed at 7/30/2016 11:58 AM

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MANAGEMENT MRN: E1404097224

1235 E. Cherokee St.
. Printed by 62585 at 8/4/16 10:07 AM

Case 6:17-cv-03211-MDH Document1-3 Filed 07/17/17 Page 26 of 28
RECEIVED

MERCY HOSPITAL SPRINGFIELD

AUG 08 2016 WHITELEY,HAYDEN DODGE
1235 E. Cherokee St. MRN: E1404097224.
Springfield MO 65804-2203 DOB: 7/28/2016, Sex: F
_-SIONE COUNTY Adm: 7/26/2016, D/C: 7/30/2016
; Mercy Hospital Springfield, 1235E Chisskes St, Springfield MO 65804-2... SAMTH-401655104-01A

Mercyit

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EC a
142691497

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Ars Paty AS Fel {xd if Ee tes ah ade t=(t (tat inn ee Cte eee
| Admission Information
d Department
[ 7/28/2016 Sprg 5a Mothers Unit

' By signing below, | (patient or responsible ‘care party) acknowledge that a copy of the Discharge
i Instructions with the After Visit Summary has been provided and explained to me. | have had all my

[ questlons answered to my satisfaction. |. understand the plan of care:

* ae W C1Qnuce

: Date and Time:

UN, 7-30 -lle

i

| Driver Signature:

| Date and Time:

Nurse Signature:
ee

| Date and Time:

Fn 32 ee

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Page 1 of 1

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SPRG HEALTH INFORMATION
Case 6:17-cv-03211-MEMAGEetiment 1-3

WHITELEY HAYDEN DODGE

Filed o7VEAY 15140492027 of 28
_ | INTERVAL HISTORY/PARENT’S CONCERNS:

ws MISSOURI DEPARTMENT OF SOC HAL SERVICES
gee) MO HEALTHNET DIVISION
rae) HEALTHY CHILDREN AND YOUTH SCREENING GUIDE
Nee” 2-3 MONTHS
DATE NAME DATE OF BIRTH
gla [tb Whiteley, ay den 7/t8/ iy
MO HEALTHNET NUMBER ie MEDICAL RECORD NUMBER
TEMP AR HEIGHT BMI ALLERGIES
! 1a a" % NKDA
PULSE HEAD CIRC WEIGHT MEDICATIONS.
%| to \b bor % NONE
COMMENTS

Sleeping: _-

Activity:

Child Care:

Fanily High Risk. Fates

Parent's Concerns:

_tines perday (1 WIC Referral
oz/feeding times per day

Nutrition: C] Breast min/feeding
Formula: ; i
Output: Urine:

: Stools:
Diaper Rash: th

{I UNCLOTHED PHYSICAL Exam: [1 Check Growth Chart

B/B/ il

SYSTEM

NL

NE

“COMMENTS

General

¢

ABN

Skin

1

Head

Eyes

Ears

Nose

Oropharynx

Neck .

Lungs —

Heart

| Pulses

| Abdomen

Back

GU

Skeletal

Neuro |

“TT ™ Lane

Neebore we checle. anda ¥ deys ofl

High ris Soctal chtuition
TA utero drug expos?

SIGNATURE

DATE

MO 886-3989 (10-07)

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Case 6:17-cv-03211- MH. oz PFU men Teds 3, anh.)

Filed 07/17/17

Page 28 of 28

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